Case 2:04-cV-02773-.]P|\/|-de Document 7 Filed 05/11/05 Page 1 of 2 Page|D 13

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CHARLES LAMARCO TANZY,
Plaintiff,

v.

CITY OF GALLOWAY, et al.,

Defendants.

 

JUDGMENT IN A CIVIL CASE

CASE NO: 04-2773 Ml/V

 

JUDGMENT

 

JUDGMENT BY COURT.
Court.
rendered.

This action came to consideration before the
The issues have been considered and a decision has been

IT IS THEREFORE ORDERED, ADJUDGEDr AND DECREED that, in accordance

with the Order of Dismissal,

Order Certifying Appeal Not Taken in

Good Faith, and Notice of Appellate Filing Fee, entered May ll,

2005, this case is DISMISSED.

APPROVED:

QWQQ§L

 

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JO P. MCCALLA
U TED STATES DISTRICT COURT

maj /l goes

Date

HGBEF’\T R. D\ TROLIO
Clerk of Court

(By) Deputy Clerk U

 

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thice of Distribution

This notice confirms a copy of the document docketed as number 7 in
case 2:04-CV-02773 Was distributed by faX, mail, or direct printing on
May ]3, 2005 to the parties listed.

 

Charles Lamarco Tanzy
P.O. BOX 252
Galloway, TN 38036

Honorable J on McCalla
US DISTRICT COURT

